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           ORDERED in the Southern District of Florida on January 13, 2025.




                                                                        Laurel M. Isicoff, Judge
                                                                        United States Bankruptcy Court
___________________________________________________________________________




                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF FLORIDA
                                                  MIAMI DIVISION
                                                 www.flsb.uscourts.gov

               In re:                                                     Chapter 11

               SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

                     Debtors.                                             (Jointly Administered)
               _______________________________/

                 ORDER GRANTING DEBTORS’ EMERGENCY MOTION TO AMEND ORDER
               GRANTING DEBTORS’ MOTION TO AUTHORIZE THE REJECTION OF CERTAIN
                                     UNEXPIRED LEASES

                        THIS MATTER came before the Court on January 8, 2025 at 2:30 p.m. upon the Debtors’

           Emergency Motion to Amend Order Granting Debtors’ Motion to Authorize the Rejection of

           Certain Unexpired Leases [ECF No. 161] (the “Motion”). The Court having reviewed the Motion


           1
            The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
           The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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and pleadings in this case, having heard arguments of counsel and being fully apprised on the

premises, accordingly it is,

       ORDERED that:

       1.      The Motion is GRANTED.

       2.      The Order (A) Authorizing the Rejection of Certain Unexpired Leases and (B)

Abandonment of Certain Personal Property [ECF No. 85] is hereby modified to permit the

landlord, Runway 1, LLC (the “Landlord”) to retain an additional $3,000.00 of the prepetition

security deposit and require the Landlord to refund the remaining $7,000.00 to the Debtors. Any

other claims of the Landlord are reserved and are not waived.

       3.      The Court shall retain jurisdiction over this matter to enforce the terms of this Order.

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Submitted by:
Monique D. Hayes, Esq.
DGIM Law, PLLC
Counsel for the Debtors
2875 NE 191st Street, Suite 705
Aventura, FL 33180
Phone: (305) 763-8708
Email: monique@dgimlaw.com


[Monique D. Hayes, Esq. is directed to provide a copy of this signed Order to all parties of record
and to file a Certificate of Service conforming with Local Rule 2002-1(F), within 3 days of entry
of this Order]




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